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                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


United States of America,

                         Plaintiff,
                                                      NOTICE OF APPEARANCE
v.
                                          Criminal Case No. 20-CR-232 (DSD/KMM) 13
Bryant Jarode Critten,

                         Defendant.


       Pursuant to Rule 83.7(b) of the Local Rules of the United States District Court for

the District of Minnesota, the undersigned attorneys hereby notifies the Court and

counsel that Jill A. Brisbois and Joseph P. Tamburino, shall appear as counsel of record

for Defendant, Bryant Jarode Critten, in this case.




Dated: October 30, 2020.                      s/ Jill A. Brisbois
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Dated: October 30, 2020.                      s/ Joseph P. Tamburino
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